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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

                                              )
Minnesota State College Student               )             Case No. 22-cv-00771-ECT-ECW
Association, Inc., d/b/a LeadMN,              )
                                              )
              Plaintiff,                      )
                                              )
       vs.                                    )
                                              )
Jay Cowles, Rudy Rodriguez, Asani             )
Ajogun, Victor Ayemobuwa, Alex Cirillo,       )      MEMORANDUM IN SUPPORT OF
Dawn Erlandson, Jerry Janezich, Roger         )        PLAINTIFFS’ MOTION FOR
Moe, Javier Morillo, April Nishimura,         )       PRELIMINARY INJUNCTION
Oballa Oballa, Kathy Sheran, George           )
Soule, Cheryl Tefer, and Michael Vekich,      )
in their official capacities as Trustee       )
Members of the Board of Minnesota State       )
Colleges and Universities.                    )
                                              )
              Defendants.                     )
                                              )

                                    INTRODUCTION

       LeadMN is an independent, student-led association representing more than

100,000 students at 30 MNSCU community and technical colleges across Minnesota. Its

student leaders and staff speak and advocate on behalf of public college students in the

media, with Defendants, MNSCU’s Trustees, and other government leaders. It also

facilitates the collective assembly and expression of students by developing student

leaders, hosting regular assemblies of college student association leaders to select its

leaders and determine how it will speak, advocate, and serve college students.

       LeadMN’s speech and public advocacy has frustrated Trustees and MNSCU

leaders. As a result, since June 2021, Trustees’ have refused to collect funds LeadMN


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intended and intends to use for speech, assembly, and expression protected by the First

Amendment. Evidence shows that Trustees desired to retaliate in response to LeadMN’s

past speech and advocacy and to refuse new funding that they knew would be used to

increase and amplify LeadMN’s speech.

       Trustees’ violations of the First Amendment were enabled by an unlawful fee

review process that operates as an unlawful prior restraint on LeadMN’s speech.

Minnesota Statute Section § 136F.22 (“Section 136F.22”) requires the Board1 to collect

funds LeadMN uses for its protected speech, assembly, and advocacy. Trustees and

MNSCU leaders know fees collected for LeadMN fund its speech. They also know that if

they refused LeadMN’s request for additional fees, they could diminish LeadMN’s fees.

As the Supreme Court has long recognized, “virtually every means of communicating. . .

requires the expenditure of money.” Buckley v. Valeo, 424 U.S. 1, 19 (1976). By refusing

LeadMN’s request, the Board would “necessarily reduce the quantity of [LeadMN’s]

expression by restricting the number of issues discussed, the depth of their exploration,

and the” number of students reached by LeadMN’s speech and advocacy. Id.

       The Board’s processes and policies implementing Section136F.22, and used to

consider student association fee requests, allow Trustees to retaliate and engage in

viewpoint discrimination without detection. In refusing to collect LeadMN’s fees, the

Board had no guidelines or limitations, issued no decision, made no findings, cited no

evidence, and simply never acted at all. This unbridled discretion in considering student


1
 Defendants are referenced as the “Board,” when referring to the governing body, and as
“Trustees,” and each a “Trustee” when referring to them as individual(s).


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association fee requests to fund speech and advocacy operates as a prior restraint in

violation of the First Amendment— “the most serious and the least tolerable infringement

on First Amendment rights.” Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976).

The mere existence of the Board’s unlawful prior restraint scheme is unlawful and must

be enjoined. See City of Lakewood v. Plain Dealer Pub. Co., 486 U.S. 750, 757-58

(1988); Viewpoint Neutrality Now! v. Regents of Univ. of Minn. 516 F.Supp.3d 904, 920-

923 (D. Minn. 2021) (citing Southworth v. Board of Regents of Univ. of Wis. Sys.

(“Southworth II”), 307 F.3d 566, 579 (7th Cir. 2002)); Secretary of State of Md. v. Joseph

H. Munson Co., Inc., 467 U.S. 947, 964 n. 12 (1984). Because LeadMN has demonstrated

Defendants are in violation of its First Amendment rights, its requested preliminary

injunction must issue. See Phelps–Roper v. Troutman, 662 F.3d 485, 488 (8th Cir. 2011)

(per curiam).

                               FACTUAL BACKGROUND

I.       DEFENDANTS

         The Minnesota State Colleges and Universities system (“MNSCU”) consists of

thirty public community and technical colleges and seven universities across Minnesota.

(Compl.2 ¶7.) MNSCU is governed by Defendants, the fifteen Trustees who constitute its

Board.




2
 In his sworn Declaration (“Dean Decl.”) Michael P. Dean verifies the factual allegations in
LeadMN’s Complaint, Docket No. 1 (“Compl.”). (Dean Decl. ¶2.) These allegations are cited
herein only as “Compl. ¶#.”.

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II.    LEADMN AND ITS SPEECH AND STUDENT ADVOCACY

       LeadMN is an independent Minnesota nonprofit corporation. LeadMN’s members

include all students enrolled in at least one credit at a MNSCU community and technical

college. (Id. ¶11.) LeadMN is governed by, and conducts advocacy through, student

leaders elected from its student members at its General Assembly. (Id. ¶16.) This

Assembly is the association’s highest decision-making authority. The General Assembly

is made up of student representatives from all MNSCU colleges. A quorum representing

at least twenty of MNSCU’s thirty colleges is required for the assembly’s decisions. (Id.

¶17.) The General Assembly elects LeadMN’s leaders and determines LeadMN’s

advocacy positions, programs, plans, policies, and budget. (Id. ¶18.)

       After its priorities are determined by the General Assembly, LeadMN’s advocacy,

speech, and programs are carried out by its student officers and staff employed by

LeadMN. (Id. ¶19.) LeadMN’s staff report to its Executive Director. (Id. ¶20.) LeadMN’s

Bylaws describe its purposes, including:

              1. To advocate for students in Minnesota Technical Colleges,
                 Community Colleges, and Consolidated Colleges through
                 their Campus Student Governments (herein referred to as
                 CSG’s);
              2. To empower the CSG’s by organizing, providing, and
                 promoting activities that encourage unity within the student
                 community;
              3. To provide opportunities for students to develop their
                 leadership skills;
              4. To provide information and advocate on behalf of students
                 to decision makers on issues affecting students;
              5. To facilitate and support students to be more visible and
                 active at the local, state, and national level;


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                6. To establish an effective and efficient network of
                   communication among students, campuses, and LeadMN;
                7. To ensure that all student voices are heard through
                   recognizing, encouraging, and supporting diversity in order
                   to foster student community; and
                8. To promote higher education equality for all . . . .

(Id. ¶21.)

       LeadMN provides information to students, creates opportunities for students to

purposefully assemble to communicate and debate with other students, participate in

decisions regarding LeadMN’s public positions and advocacy, participate in leadership

and advocacy training, and become leaders. LeadMN’s public advocacy on behalf of

students includes petitioning/requesting that elected and appointed government leaders

make decisions and exercise their powers or decide contentious issues in favor, or for the

good, of the students that LeadMN represents. (Compl. ¶22.) LeadMN’s leaders represent

MNSCU students and engage in public advocacy on their behalf. LeadMN’s advocacy

efforts include speaking with elected and appointed government leaders, offering

testimony at legislative hearings and Board meetings, and communicating publicly

regarding issues important to MNSCU students. (Id. ¶23.) In 2020 alone, LeadMN

leaders:

        Met with dozens of federal and state officials, including 90 meetings with state

             legislators advocating for LeadMN’s priorities;

        Helped 2,985 Minnesota college students to register to vote;

        Were quoted in news media more than thirty times; and

        Provided testimony at every MNSCU Board meeting.


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(Id. ¶24.)

        LeadMN’s advocacy on behalf of students means its leaders must challenge,

attempt to influence, and potentially criticize the Board and MNSCU’s administration.

For example, LeadMN has consistently advocated for lower student tuition and opposed

Board efforts to raise tuition, including in 2020. (Id. ¶25.) LeadMN worked with

legislators to support a freeze in MNSCU tuition at community and technical colleges

mandated by the Legislature over a six-year period, from 2013 to 2019. This was

important to students, but angered MNSCU leaders, administrators, and Trustees. (Id.

¶26.)

        LeadMN testified before the Board that it must do more to address racial

disparities, including raising serious questions for the Board in 2017. (Id. ¶27.)

LeadMN’s work opposing Board efforts to add new student fees in 2018 was publicized.

(Id. ¶28.) LeadMN has worked with legislators to mandate other higher education

reforms on behalf of students, including measures related to student transfers,

developmental education, online education resources, and food insecurity. The Board and

MNSCU administrators have often viewed these reforms negatively. (Id. ¶29.) In June

2020, LeadMN’s Governing Council responded to the murder of George Floyd by calling

on the Board to convene a statewide working group to review MNSCU law enforcement

programs. (Id. ¶30.)

        LeadMN student leaders raised concerns regarding MNSCU’s response to

COVID-19. LeadMN surveyed students and publicized their struggles. Its’s President

raised concerns regarding MNSCU’s efforts to teach online. The Star Tribune quoted her


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as stating, “I don’t feel like I am getting an education. . . . You are practically teaching

yourself.” (Id. ¶313.) LeadMN continues to publicly advocate for issues that are important

to students, regardless of their popularity with the Board.

         LeadMN leaders found recent Star Tribune reports describing the Chancellor’s

and Board’s response to discrimination and harassment deeply troubling. These reports

confirmed LeadMN’s experience. However, when LeadMN’s student President had an

opportunity to testify before the Board, the opportunity posed a potential dilemma. (Id.

¶32, 35.) Student leaders believed they must speak out regarding students’ serious

concerns, consistent with LeadMN’s longtime advocacy supporting equity, inclusion,

empowerment, and integrity. (Id. ¶34.) At the same time, the actions, and inaction, of

MNSCU’s Chancellor and Board in 2021 demonstrated that the Board would likely

retaliate in response to LeadMN’s public comments and advocacy. (Id. ¶35.)

III.     THE BOARD’S DUTY TO COLLECT FEES THAT FUND LEADMN’S
         SPEECH, ASSEMBLY, AND ADVOCACY

         Subdivision 1 of Section 136F.22 requires the Board to recognize two different

student associations, one for university students and one for community and technical

college students. (Id. ¶36.) Pursuant to Section 136F.22, LeadMN is the recognized

student association representing students at MNSCU’s community and technical colleges.

(Id. ¶37.) And Minnesota State University Student Association, Inc. d/b/a Students

United is the nonprofit student association recognized for MNSCU University students

pursuant to Section 136F.22. (Id. ¶38.)


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    See also Kimble Decl. Ex. 13.


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       The Board is required by statute to collect LeadMN’s and Students United’s fees

pursuant to Subdivision 2 of Section 136F.22. (Id. ¶39.) Subdivision 2 allows changes to

each association’s fee, but any changes must first be submitted and approved by the

Board. The statute does not restrict the Board’s discretion to “revise or reject the

[proposed] fee change” for any reason. Minn. Stat. § 136F.22. Subd. 2; (Compl. ¶40.)

The Board adopted Policy 3.7, titled “Statewide Student Association” related to Section

136F.22. This policy largely corresponds to Section 136F.22 regarding the collection of

fees, but adds that the Board must revise or reject a requested change “during the two

board meetings immediately following the fee change submission.” (Compl. ¶41.) The

Board does not believe it is required to follow Policy 3.7. (Id. ¶42.)

IV.    THE BOARD’S RETALIATION, VIEWPOINT DISCRIMINATION,
       AND EXERCISE OF UNFETTERED DISCRETION RELATED LEADMN’S
       FEE PROPOSAL

       In 2021, LeadMN’s General Assembly considered and adopted a plan to expand

its efforts on behalf of students, including:

        improving its outreach, communication with, and the engagement of students

           in its advocacy and efforts to support students;

        facilitating student-to-student communications, advising, and counseling

           through new and additional support services to students;

        increasing and improving solicitation and fundraising efforts independent of

           the Board’s collection of fees;

        creating an online student engagement platform and student newspaper. (Id.

           ¶¶43, 47.)

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LeadMN’s General Assembly voted and approved these efforts and its budget. This budget

included a proposed fee increase to $0.61 per credit to fund and enable these efforts. (Id.)

When they considered its proposal, Trustees were aware that a majority of student

representatives at the General Assembly had approved the proposal. (Id. ¶49.)

       Since 2015, LeadMN’s fee has been $0.35 per credit. (Id. ¶44.) In April 2021,

LeadMN informed Trustees that it proposed to increase its fee to $0.61 (LeadMN’s “2021

fee proposal”). This increase would have increased LeadMN’s per-credit fee to match the

level approved by the Board for Students United three years earlier. (Id. ¶45.) Before and

after LeadMN submitted its fee proposal, Trustees were aware that LeadMN uses funds

collected on its behalf by the Board for speech, assembly, and public advocacy, including

raising issues and seeking redress with elected and appointed government leaders on

behalf of the students it represents. (Id. ¶46.) However, LeadMN hoped that the Board

would approve its fee proposal similar to the two Students United proposals approved by

the Board without debate in 2017 and 2018. (Id. ¶52-53.) In considering Students

United’s proposal, the Board did not seek out additional third-party comment and did not

attempt to generate opposition. (Id. ¶54.) That association had not been critical of

MNSCU’s Chancellor or the Board and had not opposed the Board’s recent proposals to

increase student tuition. (Id. ¶55.)

       When LeadMN’s student leaders presented its fee proposal to the Board for

approval , they explained how funds collected by the Board are and would be used for

LeadMN’s protected speech. (Id. ¶¶48, 56.) LeadMN explained that funds collected by

the Board had enabled LeadMN’s past advocacy and speech, including:


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    advocacy with state and federal legislators in support of investments in MNSCU
     colleges, open educational resources, students’ basic needs, and mental health
     funding, among other priorities.

    leadership in the fight for policy changes to better support student success through
     Developmental Education Reform, Transfer Pathways, Hunger Free Campus Act,
     and the Mental Health Awareness Act; and

    efforts to promote civic engagement on campuses by coordinating voter
     registration efforts registering over 10,000 students and helping Minnesota lead
     the nation in youth voter turnout in 2018 and be runner-up in 2020.

(Dkt 12 Declaration of Janine Kimble (“Kimble Decl.”) Ex. 9 (Dkt. 12-7) pp. 183-84 of

264 .) LeadMN made clear that its proposed increase in funding had been approved by

assembled student representatives from MNSCU colleges across Minnesota at LeadMN’s

General Assembly. (Id. p. 184 of 264.)

       When Trustees considered LeadMN’s fee proposal in May and June 2021, they

knew that if they approved the proposal LeadMN would use the additional funds collected

for speech, assembly, and public advocacy protected by the First Amendment. (Compl.

¶48.) MNSCU records demonstrate that when its Chancellor, Board Chair, and other

Trustees learned of LeadMN’s fee proposal, they covertly worked to generate opposition

to LeadMN’s request. (Id. ¶59; Dean Decl. Exs B-G, K-L.) They violated Minnesota’s

Open Meeting Law by deliberating about LeadMN’s fee proposal outside of a public

meeting. Trustees sought to evade disclosure and public scrutiny of their efforts to scuttle

LeadMN’s fee proposal. (Id. ¶60; Dean Decl. Exs. A, G.)

       Trustees and MNSCU administrators, including Chancellor Malhotra, covertly

coordinated opposition to LeadMN’s fee proposal outside of public meetings using group

text messaging and electronic “chat” tools. (Compl. ¶61; Dean Decl. Exs. A, G.) In an

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electronic chat message sent to Board Finance Committee Chair/Trustee Roger Moe, a

Trustee stated, “Chancellor’s office will arrange a zoom of the three of us to discuss

LeadMN request. . . . Have spoken with three other trustees; [Chancellor] Devinder

[Malhotra] forwarded [LeadMN’s Executive Director’s] email with suggestions.” (Dean

Decl. Ex. G.) LeadMN was not included in these discussions. Neither Chancellor

Malhotra nor any other MNSCU representative copied LeadMN or otherwise sent

LeadMN the referenced email message or “suggestions” to LeadMN. (Id.; Compl. ¶62.)

       Trustee Dawn Erlandson sent a text message to a 10-person group text that

included other Trustees. She suggested that Trustees use the Board’s authority related to

LeadMN’s fee proposal to retaliate against LeadMN for its public testimony and

advocacy opposing the Board’s efforts to increase student tuition. (Compl. ¶63; Dean

Decl. Ex. A.) Trustee Erlandson suggested someone should inform state legislators that

LeadMN “oppose[d] tuition [increases proposed by the Board] yet are seeking yet

another fee increase?” (Compl. ¶64; Dean Decl. Ex. A.) Trustee Michael Vekich

responded to Trustee Erlandson’s text, “Concur.” He added that he had “operational

questions” he intended to “address with [Finance Committee] chair Moe.” (Compl. ¶65;

Dean Decl. Ex. A.) MNSCU Director of Government Relations responded to Trustee

Vekich’s text, “I have not had legislative conversations regarding the increase as the

process is prescribed to be between the students and the BOT [Board of Trustees].”

(emphasis added). (Compl. ¶66; Dean Decl. Ex. A.) In response to LeadMN’s fee

proposal, MNSCU leaders and administrators communicated with preferred third parties




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to arrange for and generate opposition to LeadMN’s fee proposal. (Id. ¶67; Dean Decl.

Exs. B-C, K-L.)

      LeadMN’s fee proposal was considered by the finance subcommittee of MNSCU’s

Board on May 19 and June 16, 2021. (Kimble Decl. Exs. 10-11.) LeadMN’s student leaders

informed Trustees that additional funds received after approval of its proposal would be

used to expand LeadMN’s speech. They informed the Board that increased fees from its

the fee proposal would fund:

    Marketing, outreach, and student engagement efforts to better connect students
     from across the entire MNSCU system to each other through LeadMN, to build a
     sense of belonging, including through enhanced online engagement platforms and
     establishing a student newspaper; (Kimble Decl. Ex. 1 at 2:26:44-2:26:56,
     2:30:00-2:30:14.)

    To hire benefits navigators to communicate with and educate students regarding
     federal, state, local, and private benefits potentially available to them; (Id. Ex. 1 at
     2:25:46-2:26:16.)

    Outreach staff to improve LeadMN’s student engagement efforts at the 34 MNSCU
     colleges LeadMN serves; (Id. Ex. 1 at 2:29:41-2:30:23.) and

    To expand the group’s fundraising efforts by hiring a new LeadMN development
     director. (Id. Ex. 1 at 2:29:49-2:29:59.)

One of LeadMN’s student leaders summarized the goal of LeadMN’s fee proposal for the

Board, “Raising our fee at the end of the day is an investment for students in their voice

and in their success.” (Id. Ex. 2 at 1:18:13-1:18:19.) Trustees and third-party allies of

Trustees had other ideas about LeadMN’s speech.

      The Minnesota Association of Professional Employees (“MAPE”) is a labor union

representing certain MNSCU employees. (Id. ¶68.) MAPE is aware of LeadMN’s

advocacy on behalf of students who have been subject to discrimination by MAPE

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members. (Id. ¶69.) After coordination with the Board, on May 19, a representative of

MAPE informed Trustees that LeadMN’s proposed efforts “will be harmful to students

and employees.” (Id. Ex. 1 at 2:32:59-2:33:31.) MAPE’s criticisms focused on

LeadMN’s speech, alleging students may be “misled” or wrongly “advised” by LeadMN

and that MNSCU “campuses may not choose to create new positions to meet the needs of

students or leave open positions unfilled with the understanding that [counseling and

advising] resources will be provided” by LeadMN. (Id. Ex. 1 at 2:33:48-2:34:42 .) (5/19

Finance recording.) MAPE was concerned that MAPE union members, not LeadMN

representatives, should be speaking with students.

       For their part, at finance subcommittee meetings in May and June 2021, Trustees

raised concerns specifically regarding LeadMN’s speech, including that they had received

a “couple of letters from student Senate organizations that have expressed opposition to the

fee” proposal—ignoring that a majority of student government organization approved the

fee proposal at LeadMN’s General Assembly. Trustees and MNSCU leaders expressed

concerns, similar to MAPE’s, that LeadMN’s proposed student counseling and advising

was speech that should be undertaken by MNSCU employees or preferred “partners”, but

not LeadMN. Such comments included:

        “If we bring in other people [LeadMN] to do those things [proposed by
         LeadMN] it defeats the purpose of what paid administrators or paid
         professionals on campus are supposed to do . . . .” (Id. Ex. 2 at 2:10:10-
         2:10:23.)

        “I am very concerned that we are trying in some way . . . to replicate or
         displace the people that are already on campus. . . . [Counseling and advising
         students is] our obligation. It is not LeadMN's job. I appreciate very much what



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          you're trying to do. But this isn't the right way to do it . . . .” (Id. Ex. 2 at
          1:55:45-1:56:44.)

       “[M]y question for Minnesota state [leaders] is to what extent . . . would
        [LeadMN’s proposed] services be helpful, would they supplement, would they
        interfere, would they aid, would they . . . complement” MNSCU’s advice and
        communications with students. (Id. Ex. 2 at 1:28:43-1:29:13.)

       “[A]n alternative that you could do in order to have a direct influence with
        students who really are focused on the students' concerns [for mental health
        resources is] instead of building [capacity] within your own organization,
        create grants and target them to where you see they need to go” to pay for
        MNSCU resources. (Id. Ex. 2 at 2:07:06-2:07:21.)

       If LeadMN is allowed to “bring in other people to [communicate with students]
        it defeats the purpose of what paid administrators or paid professionals on
        campus are supposed to do. And . . . that becomes a waste of money. [I]f we
        have counselors on campus and . . .students feel as if they're not doing their job
        or they feel not heard, then maybe [the Board] should look into that aspect”
        rather than approve LeadMN’s activities. (Id. Ex. 2 at 2:10:11-2:10:34.)

      In addition to their apparent preference for other preference, MNSCU Leaders and

Trustees made comments indicating a desire to retaliate for LeadMN’s past failure to be

“collaborative” or a “partner” with MNSCU leaders. Trustees and MNSCU leaders:

       Sent text messages suggesting Trustees and MNSCU leaders inform legislators
        that after opposing their tuition increases, LeadMN was now proposing
        increasing its fee; (Compl. ¶¶64-67; Dean Decl. Ex. A.)

       Stated “there is a need on [the Board’s] part to recognize the need for
        accountability and collaboration with those parties who offer those services or
        suggest to offer those services on our campuses” (Compl. ¶99.)

       After noting that LeadMN had, in fact, followed its guidelines for approving its
        fee proposal, a Trustee stated that LeadMN’s process of communication
        preferred third parties “does not appear . . . to have been the kind of collaborative
        process that we constantly recognize and try to engage in.” (Kimble Decl. Ex. 2
        at 2:22:21-2:22:21.)

       LeadMN had not or might not work in “true collaboration or partnership with
        our system” or its Chancellor. (Compl. ¶84.)


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      Trustees had worked with college presidents, administrators, and student

government leaders to generate opposition to LeadMN’s fee proposal. The Board did not

request comment or opposition to Students United’s requests for fee increases in 2017 or

2018. (Id. ¶74; Dean Decl. Exs. B-G, K-L.) MNSCU’s Chancellor opposed LeadMN’s

fee increase because he believed that LeadMN had not sufficiently consulted with him in

advance, that LeadMN did not share a joint common goal with MNSCU administrators,

and that LeadMN had not worked collaboratively with MNSCU administrators. (Id. ¶82.)

      Only the Board had authority regarding LeadMN’s fee proposal. Nonetheless, the

Board required LeadMN to meet with MNSCU college presidents regarding its fee

proposal. (Id. ¶76.) Students United had not been required to meet with MNSCU college

presidents. (Id. ¶77.) LeadMN had already fulfilled its decision-making process that

allowed student government leaders from every MNSCU college to participate in

LeadMN’s General Assembly. (Id. ¶75.)

      After the May Finance Committee meeting, LeadMN asked to meet with Trustees

about its fee proposal and to answer Trustees’ questions. Other stakeholders have met

with Trustees individually regarding Board business. However, Board Chair Cowles

refused to allow LeadMN’s leaders to meet with other Trustees. (Id. ¶83.) Board Chair

Cowles finally met with LeadMN representatives on June 2, 2021. In this meeting, he

acknowledged “the reality . . . that we [the Board] have absolutely no oversight about any

of what you [LeadMN], what services you choose to provide. The only thing that we

have oversight of is your fee.” Nonetheless, Chair Cowles stated that he and other

Trustees intended to leverage the Board’s ability to revise or reject LeadMN’s fee


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proposal to control LeadMN. He stated that the Board might not approve LeadMN’s fee

proposal because LeadMN had not or might not work in “true collaboration or

partnership with our system” or its Chancellor. (Id. ¶84.)

       In the end, seven members of the Board’s Finance Committee were the only

Trustees to consider LeadMN’s fee proposal. Some of the five members that ultimately

blocked Board consideration of the proposal made comments that appeared to be

retaliatory or that indicated a desire that MNSCU personnel speak with students, rather

than LeadMN. (Kimble. Decl. Ex. 2.) Finance subcommittee members were informed by

the subcommittee’s Chair shortly before they voted to block LeadMN’s proposal on June

16, 2021, that:

              Our responsibility is to make a decision on [LeadMN’s
              proposed] fee increase. And now we've heard what they intend
              to do with the fee increase. And so the question would be, is
              that something we want to go along with?

(Kimble Decl. Ex. 2 at 2:13:55-2:14:32 (emphasis added).) Finance Committee members

voted against approving a motion to forward by a vote of two to five. (Compl. ¶88.)

       The Finance Committee did not make any findings regarding this motion or

LeadMN’s fee proposal. The Finance Committee did not issue any decision or provide

any explanation orally or in writing regarding the failure of this motion or LeadMN’s fee

proposal. (Id. ¶89.) The Finance Committee did not consider any alternatives to the

motion read by Finance Committee Chair Moe regarding LeadMN’s fee proposal. (Id.

¶90.) The Finance Committee did not consider revising LeadMN’s fee proposal to allow

an increase in fees that would be used for speech or advocacy. (Id. ¶91.) If the Finance



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Committee’s decision was based on aspects of LeadMN’s proposed use of fees that

would be collected, the Committee did not consider approving a revised fee increase that

would fund those aspects of LeadMN’s proposal that the Committee did not find

objectionable, or that MAPE or other “partners” of the Committee did not find

objectionable. (Id. ¶92.)

       Even though its Policy 3.7 purports to require the Board to related to revise or

reject a requested student association fee change “during the two board meetings

immediately following the fee change submission.” (Id. ¶41.) However, the full MNSCU

Board never voted on LeadMN’s proposal. (Id. ¶42.) The Board did discuss LeadMN’s

fee proposal during its regular Board meeting also on June 16. However, Board Chair

Cowles informed Trustees that LeadMN’s proposal would not be voted on by the Board

because the Finance Committee had not approved a motion asking the Board to approve

LeadMN’s proposal. (Id. ¶93.) The only reference to LeadMN’s proposal in the minutes

of the Board’s June 16 meeting is “LeadMN Fee Proposal (Second Reading) did not pass

in Finance Committee and will be removed from the consent agenda.” (Id. ¶94.) In the

end, the Board:

        did not revise, reject, or take any other action regarding LeadMN’s fee

          proposal at its June 16 meeting or at any other meeting. (Id. ¶95.)

        never voted on LeadMN’s fee proposal. (Id. ¶96.)

        never made any findings or issued any written decision regarding LeadMN’s

          fee proposal or its refusal to the fee proposed. (Id. ¶97.)




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        never considered any alternatives to authorize a partial fee increase for

           LeadMN or a fee increase to be spent on speech that the Board did not find

           objectionable. (Id. ¶98.)

        has not increased the fee collected for LeadMN after LeadMN’s submission of

           its fee proposal in 2021. (Id. ¶101.)

        collected the same fee for LeadMN during the 2021-2022 school year as they

           collected during the 2020-2021 school year. (Id. ¶101.)

       At the Board’s June 16 meeting, Board Chair Cowles summarized why LeadMN’s

fee proposal was not brought before the Board. He stated there was “need for

accountability and collaboration” and that before the Board would approve funding,

LeadMN must meet “with the chancellor, campus leadership, student Senate leadership

and gain their support . . . .” (Id. ¶99.) At the end of this discussion, a Trustee

summarized concerns regarding a retaliatory “undercurrent” in the Board’s refusal to

consider LeadMN’s fee proposal, stating:

              I need to understand the culture around this, sort of the feeling
              around this, it felt to me as a new member that there’s another
              undercurrent issue about student pressure being placed on
              [MNSCU’s] administration to achieve what they see as a need.
              And how the [MNSCU] system sees that, and reacts to that.
              And it concerns me that we not be creating a negativity in . . .
              how we think about student organizations and their advocacy
              work and their desire to increase their capacity to influence the
              system that that I’d like to have a more forthright conversation
              about what the culture is about that in the system.

(Kimble Decl. Ex. 3 at 1:06:37-1:07:48.)




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                                      ARGUMENT

I.     PRELIMINARY INJUNCTION STANDARD

       The Court has broad power to order preliminary injunctive relief pursuant to Rule

65 of the Federal Rules of Civil Procedure. As the Court is aware, in the Eighth Circuit a

plaintiff seeking injunctive relief must normally establish:

       1.     The threat of irreparable harm to the movant;

       2.     The balance between the harm to the moving party and the injury that
              granting the injunction will inflict on the other party;

       3.     The probability that the movant will succeed on the merits; and

       4.     The public interest.

Dataphase Sys., Inc. v. C L Sys., Inc.640 F.2d 109, 114 (8th Cir. 1981). “The third factor,

probable success on the merits, is frequently considered the most important,” Am. Dairy

Queen v. New Line Prod., Inc., 35 F. Supp. 2d 727, 729 (D. Minn. 1998). However,

“[w]hen a plaintiff has shown a likely violation of his or her First Amendment rights, the

other requirements for obtaining a preliminary injunction are generally deemed to have

been satisfied.” Troutman, 662 F.3d at 488; see also Minn. Citizens Concerned for Life,

Inc. v. Swanson, 692 F.3d 864, 870 (8th Cir. 2012); Seaton v. Wiener, 22 F.Supp.3d 945,

949 (D. Minn. 2014). The Supreme Court has made clear that “[t]he loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976); see also Johnson v.

Minneapolis Park and Recreation Bd., 729 F.3d 1094, 1101 (Minn. 2013). LeadMN will

therefore address the merits of its First Amendment claim first.



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II.    A PRELIMINARY INJUNCTION SHOULD ISSUE BECAUSE TRUSTEES
       VIOLATED AND REMAIN IN VIOLATION OF THE FIRST
       AMENDMENT

LeadMN is an independent nonprofit and its speech, assembly, and public advocacy are

protected by the First Amendment. See Citizens United v. Fed. Election Comm’n, 558 U.S.

310, 354-55 (2010). The Supreme Court has long recognized that “virtually every means

of communicating . . . requires the expenditure of money.” Buckley, 424 U.S. at 19.

LeadMN’s speech is not exempt from this fundamental reality. And by refusing funds

LeadMN requested to expand its speech through its 2021 fee proposal, the Board

“necessarily reduce[d] the quantity of [LeadMN’s] expression by restricting the number of

issues discussed, the depth of their exploration, and the size of the audience reached.” Id.

       LeadMN’s First Amendment rights are not diminished because MNSCU’s Board

collects fees on its behalf. See Viewpoint Neutrality Now!, 516 F.Supp.3d at 917

(“[S]peech . . . funded through a student-services fee is student speech (i.e., private

speech), not the university’s own speech (i.e., government speech).”) (parentheticals in

original) (citing Bd. of Regents of Univ. of Wis. Sys. v. Southworth, 529 U.S. 217, 233-

235 (2000)); cf. Legal Services Corp. v. Velazquez, 531 U.S. 533, 542 (2001). State

action to “control or suppress speech may operate at different points in the speech

process,” and at each point is equally unlawful. Citizens United v. Fed. Election Com’n,

558 U.S. 310, 336 (2010).

       Government actions impacting funding to be used for speech are equally subject to

First Amendment scrutiny as more direct impacts on speech. For example, “the government

offends the First Amendment when it imposes financial burdens on certain speakers based


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on the content of their expression.” Rosenberger v. Rector and Visitors of Univ. of Va., 515

U.S. 819, 828-29 (1995) (citing Simon & Schuster, Inc. v. Members of N.Y. State Crime

Victims Bd., 502 U.S. 105, 108, 123 (1991)); Legal Services Corp. v. Velazquez, 531 U.S.

533, 542 (2001). Likewise, state-imposed limits on the amount or percentage a group may

spend on speech violate the First Amendment, even if the limitation is content- and

viewpoint-neutral. See, e.g., Schaumburg v. Citizens for a Better Environment, 444 U.S.

620, 634 (1980) (finding “protecting the public from fraud, crime and undue annoyance”

was a substantial government interest, but insufficient to justify a limitation on nonprofit

spending on fundraising). “The First Amendment mandates that [courts] presume that

speakers, not the government, know best both what they want to say and how to say it.”

Riley v. Nat.Fed. of the Blind of N.C., Inc., 487 U.S. 781, 790–91 (1988).

       The First Amendment protects student association funding and fundraising, no less

than other regulated speech. As the Second Circuit summarized:

              The level of funding a [student] group receives may serve as
              an expression of approval or disapproval of the group’s
              message. And the amount allocated to a group, whether a lot or
              a little, can skew debate on issues on which the group
              advocates a position.

       Amidon v. Student Ass’n of State Univ. of N.Y. at Albany, 508 F.3d 94, 101 (2d Cir.

2007); see also Viewpoint Neutrality Now!, 516 F.Supp.3d at 925 (citing Forsyth County

v. Nationalist Movement, 505 U.S. 123, 133 (1992)). It is clear from Board member

comments that the Board’s motives in refusing to approve LeadMN’s fee proposal were

unlawful—namely retaliation for LeadMN’s past speech and viewpoint discrimination




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disfavoring LeadMN’s intended speech. However, for purposes of this motion, the Court

need not determine the Board’s actual motive for rejecting LeadMN’s proposed funding.

       The Board’s violation of the First Amendment is evident from even a cursory

examination of the unbridled discretion exercised by the Board in refusing LeadMN’s 2021

fee proposal. As summarized by the Board’s Finance Subcommittee Chair:

              Our responsibility is to make a decision on [LeadMN’s
              proposed] fee increase. And now we've heard what they intend
              to do with the fee increase. And so the question would be, is
              that something we want to go along with?

(Kimble Decl. Ex. 2 at 2:13:55-2:14:32 (emphasis added).) This understanding of the

Board’s discretion contravenes the “very purpose of the First Amendment . . . .” Riley v.

Nat. Fed. of the Blind of N.C., Inc., 487 U.S. 781, 791 (U.S. 1988). The Board failed to

accept that “even with the purest of motives, the government may not substitute its

judgment as to how best to speak for that of speakers and listeners; free and robust debate

cannot thrive if directed by the government.” Id.

       Subdivision 2 of Section 136F.33 allows changes to LeadMN’s fees, but mandates

that such changes be submitted to and approved by the Board which purportedly may

“revise or reject” a proposed change in LeadMN’s fees without limitation or guidelines in

statute or Board policy. The Board’s understanding of this discretion allowed it to reject

LeadMN’s 2021 fee proposal:

        For any reason, or more accurately, for no publicly disclosed reason or

          rationale;




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       Without any findings or written decision susceptible to legal challenge and

          judicial review;

       Without any binding guideline or limitations more rigorous than “is that

          something we want to go along with?”

       Without any criteria dictating when the Board may or must deny or may or

          must grant any submitted fee proposal;

       Without consideration by the full Board;

       Without any deadline mandating if or when the full Board must vote up or

          down on a fee proposal;

       Without any avenue for judicial review; and

       Without regard for the majority vote of student representatives at LeadMN’s

          General Assembly who had approved LeadMN’s fee proposal and intended

          uses of the fees.

      The Board’s processes and policies allowing it to reject for student association fee

proposals with unbridled discretion—knowing this decision would limit LeadMN’s

speech and advocacy—constitutes an unlawful prior restraint and violate the First

Amendment. See, e.g., Viewpoint Neutrality Now!, 516 F.Supp.3d at 920-23 (citing

Southworth II, 307 F.3d at 579); Joseph H. Munson Co., Inc., 467 U.S. at 964 n. 12; City

of Lakewood, 486 U.S. at 757. The Board’s funding approval scheme is unlawful even if

the Board had never exercised its discretion to suppress speech:

             First, the mere existence of the licensor’s unfettered discretion,
             coupled with the power of prior restraint, intimidates parties


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             into censoring their own speech, even if the discretion and
             power are never actually abused. . . . Self-censorship is immune
             to an “as applied” challenge, for it derives from the individual’s
             own actions, not an abuse of government power.

             Second, the absence of express standards makes it difficult to
             distinguish, “as applied,” between a licensor’s legitimate
             denial of a permit and its illegitimate abuse of censorial power.
             Standards provide the guideposts that check the licensor and
             allow courts quickly and easily to determine whether the
             licensor is discriminating against disfavored speech. Without
             these guideposts, post hoc rationalizations by the licensing
             official and the use of shifting or illegitimate criteria are far too
             easy, making it difficult for courts to determine in any
             particular case whether the licensor is permitting favorable,
             and suppressing unfavorable, expression.

City of Lakewood, 486 U.S. at 757-58.

      Such prior restraints are unlawful whether they relate to approval of a parade permit,

access to a government created forum, or access to funding to be used for speech. See

Shuttlesworth v. City of Birmingham, 394 U.S. 147 (1969) (parade permit); Forsyth County

v. Nationalist Movement, 505 U.S. 123 (1992) (assembly ordinance); Viewpoint Neutrality

Now!, 516 F.Supp.3d at 920-23 (citing Southworth II, 307 F.3d at 579) (student group

funding); Amidon, 508 F.3d at 101 (student group funding). In Secretary of State of

Maryland v. Joseph H. Munson Co., Inc., the Supreme Court considered a content- and

viewpoint-neutral statute that designed to protect charities from excess fees by forbidding

payments for fundraising expenses of “more than 25% of the amount raised.” 467 U.S. at

950. Lower courts approved the statute because it “included a provision authorizing a

waiver of the percentage limitation” when the “25% limitation would effectively prevent a

charitable organization from raising contributions.” Id. at 952. The Supreme Court



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disagreed, finding the fundraising limitation would potentially limit some charitable

fundraising efforts which inevitably involve protected speech. Id. at 963-64. The Court

found arguments regarding the waiver provision unavailing.

              [P]lacing discretion in the hands of [a state] official to grant or
              deny a license . . . creates a threat of censorship that by its very
              existence chills free speech. [C]harities whose First
              Amendment rights are abridged by the fundraising limitation
              simply would have traded a direct prohibition on their activity
              for a licensing scheme that, if it is available to them at all, is
              available only at the unguided discretion of” a state official.

Id. n. 12.

       Here, the Board’s asserted power to reject or restrain LeadMN’s funding used for

private speech is an unlawful “prior restraint.” See, e.g., Blue Moon Ent., LLC v. City of

Bates City, Mo., 441 F.3d 561, 565 (8th Cir. 2006). “[P]rior restraints on speech and

publication are the most serious and the least tolerable infringement on First Amendment

rights.” Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976). Any such regulation

bears “a heavy presumption against its constitutional validity” and “without narrow,

objective, and definite standards to guide the licensing authority, is unconstitutional.” Se.

Promotions, Ltd. v. Conrad, 420 U.S. 546, 558 (1975) (quoting Bantam Books, Inc. v.

Sullivan, 372 U.S. 58, 70 n. 10 (1963)); see also Blue Moon, 441 F.3d at 565. The

Board’s unlimited discretion is not constrained by any “narrow, objective, and definite

standards to guide” its funding decisions, unlawfully may “impose a restraint for a

[un]specified and” indefinite period, and do not “provide for prompt judicial review.”

Blue Moon, 441 F.3d at 565. Either Section 136F.22 or binding Board policy must

prevent the Board continuing to exercise such “unbridled discretion.” Id. Such standards


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are necessary because if public officials are allowed “unduly broad discretion in

determining whether to grant or deny a permit, there is a risk that [they] will favor or

disfavor speech based on its content.” Thomas v. Chicago Park Dist., 534 U.S. 316, 323

(2002); see Viewpoint Neutrality Now!, 516 F.Supp.3d at 920 (citing Southworth II, 307

F.3d at 579).

       Because the Board is in violation of the First Amendment, an injunction must

issue. Plaintiffs’ proposed order outlines the specific injunctive relief required to remedy

Defendants’ specific violations.

II.    WHILE FINDINGS ARE NOT REQUIRED, THE REMAINING
       DATAPHASE FACTORS ALSO SUPPORT ISSUANCE OF A
       PRELIMINARY INJUNCTION IN FAVOR OF LEADMN

       A.       LeadMN is suffering, and will imminently suffer, irreparable harm

As set forth above, MNSCU has violated Plaintiffs’s rights under the First Amendment

and RLUIPA. “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.’” Elrod v. Burns, 427 U.S. 347, 373 (1976).

Therefore, “[i]n the context of First Amendment cases, courts normally assume

irreparable injury.” Jihad v. Fabian, 680 F. Supp. 2d 1021, 1031 (D. Minn. 2010)

(internal quotation omitted). “This principle applies with equal force to the violation of

RLUIPA rights because RLUIPA enforces First Amendment freedoms, and the statute

requires courts to construe it broadly to protect religious exercise.” Opulent Life Church,

697 F.3d at 295.

       Here, Plaintiffs has demonstrated a likelihood of success on the merits of its

claims, and therefore has shown it will suffer irreparable harm if the preliminary


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injunction does not issue. See Phelps-Roper, 545 F.3d at 690) (citing Marcus v. Iowa

Pub. Television, 97 F.3d 1137, 1140-41 (8th Cir. 1996); Kirkeby v. Furness, 52 F.3d 772,

774 (8th Cir. 1995)); see also Northshor Experience, Inc. v. City of Duluth, 442 F. Supp.

2d 713, 719 (D. Minn. 2006).

       B.     The balance of harm favors an injunction

       In First Amendment cases, the balance of equities “favors the constitutionally-

protected freedom of expression.” Phelps-Roper, 545 F.3d at 690. Like the irreparable

harm factor, the balance of equities factor is generally determined by examining the

plaintiff’s likelihood of success on the merits. Id. The harm to First Amendment

freedoms that Plaintiffs will suffer is substantially greater than any minimal harm that

MNSCU would suffer from the Court’s granting of the injunction. See, e.g., Northshor

Experience, 442 F. Supp. 2d at 719. “The rights of [MNSCU] will only be curtailed to the

extent required by law.” Wickersham, 71 F. Supp. 2d at 1075. This factor weighs in favor

of the injunction.

       C.     The public interest will be served by an injunction

       “[I]t is always in the public interest to protection constitutional rights.” Phelps-

Roper, 545 F.3d at 690; see also Kirkeby, 52 F.3d at 775. Because the public interest

favors core First Amendment freedoms and Plaintiffs have shown that their core First

Amendment freedoms are at stake, this factor supports a preliminary injunction. See, e.g.,

Iowa Right to Life Committee, Inc. v. Williams, 187 F.3d 963, 970 (8th Cir. 1999).




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                                    CONCLUSION

       LeadMN needs relief from the Court to enjoin the Board’s unlawful prior restraint.

For the reasons set forth above, the Court should grant its proposed preliminary

injunction.


Dated: April 25, 2022                      CROSSCASTLE PLLC

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